                     No. 21-6992


                        In the

United States Court of Appeals
           For the Fourth Circuit
                 __________________

              UNITED STATES OF AMERICA,
                                              Appellee,

                          v.

           NATHANIEL POWELL, a/k/a Nate,
                                              Appellant.
                 __________________

    On Appeal from the United States District Court
         for the Eastern District of Virginia
                  Case No. 2:16-cr-97
                 __________________

 REPLY BRIEF OF APPELLANT NATHANIEL POWELL
                __________________
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     Mr. Powell did not have effective assistance of counsel at his

sentencing. The Government excuses Mr. Woodward’s failure to investigate

the basis of the premises enhancement as a strategic choice and argues that,

regardless, Mr. Powell experienced no prejudice because the District Court

failed to account for the Guidelines in sentencing him. In a thinly-veiled

character attack, the Government discusses Mr. Powell’s criminal conduct at

length. But, the “constitutional rights of criminal defendants are granted to

the innocent and the guilty alike.” Kimmelman v. Morrison, 477 U.S. 365, 380

(1986). Here, Mr. Powell does not contest that he owes a debt to society—

this appeal instead turns on whether Mr. Woodward’s representation

“undermined the proper functioning of the adversarial process.” Strickland

v. Washington, 466 U.S. 668, 686 (1984). It did. The complete failure to

investigate cannot be a strategic choice and, because the District Court

sentenced Mr. Powell under the incorrect Guidelines-range, he suffered

constitutionally cognizable prejudice. As Mr. Powell has successfully

demonstrated both prongs of the Strickland analysis, this Court should

vacate his sentence and remand the case for re-sentencing.




                                     1
                                 ARGUMENT

I.    Mr. Woodward’s performance was not reasonable.

      Mr. Woodward failed to adequately investigate the basis of the drug

premises enhancement. Op. Br. at 10. The Government argues that Mr.

Woodward made a strategic choice not to investigate the enhancement and

that, in any event, the Constitution did not require him to pursue an

argument that was “unlikely to succeed.” Gov. Br. at 14. But, Mr.

Woodward’s decision not to conduct any investigation in the premises

enhancement was not a strategic choice. And, his decision not to raise the

argument that Mr. Powell did not possess or control the apartment cannot

be the excused on the basis of futility.

      A.    Mr. Woodward’s failure to investigate was not a reasonable
            strategic choice.

      Mr. Woodward failed to reasonably investigate Mr. Powell’s defense

to the premises enhancement and his failure to do so cannot be chalked up

to reasonable litigation strategy. As the Supreme Court has made clear,

“counsel has a duty to make reasonable investigations or to make a

reasonable decision that makes particular investigations unnecessary.”

Strickland, 466 U.S. at 691; see also Elmore v. Ozmint, 661 F.3d 783, 857 (4th Cir.

2011). This is because the adversarial “process generally will not function

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properly unless defense counsel has done some investigation into the

prosecution’s case and into various defense strategies.” Kimmelman, 477 U.S.

at 384 (emphasis added). When defense counsel “neither investigate[s], nor

[makes] a reasonable decision not to investigate[] the State’s case … [he] puts

at risk both the defendant’s right to an ample opportunity to meet the case

of the prosecution … and the reliability of the adversarial testing process.”

Id. at 385 (cleaned up).

      By his own admission Mr. Woodward made no investigation into the

premises enhancement, much less a reasonable one. When Mr. Woodward

first spoke with Mr. Powell, he testified that Mr. Powell “expressed to [him]

that [the Gateway Drive apartment] wasn’t used for drug operations.”

JA319. So, Mr. Woodward objected to the premises enhancement. But that is

all he did. At the § 2255 evidentiary hearing, Mr. Woodward attested that

his “investigation” into the enhancement consisted of nothing more than

“consulting with [his] client, filing the objection, and preparing to examine

the agent.” JA317. He did not look any further into Mr. Powell’s defense—

he conducted no witness interviews and no fact gathering. JA317. About the

Lease, the legal document establishing that his client had no possessory

interest in the subject apartment, Mr. Woodward, in his words, “didn’t do

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anything to investigate [it].” JA317. Mr. Woodward did not merely conduct

a deficit investigation; he did not conduct any investigation.

      Mr. Woodward provides no reasonable justification for his failure to

investigate the premises enhancement. The two justifications he relied on

are: (1) his experience representing other drug dealers; and (2) his belief that

“[i]n the scope of a case like this, you know, two points was not going to be

the make or break.” JA316; JA318; see Gov. Br. at 20. Neither of these are

reasonable grounds for failing to conduct even a cursory investigation into

Mr. Powell’s defense.

      As to his first justification, Mr. Woodward explained, “Typically, a lot

of times -- I’ve done a lot of drug cases in my career -- people will have what

they think is a safe place that’s not obvious that they use to keep narcotics

in.” JA318. It may be true that, in Mr. Woodward’s experience, “[t]ypically”

drug dealers do maintain premises for the distribution of narcotics. But, that

did not mean Mr. Powell did. Mr. Powell is entitled to a defense tailored to

his case – not the tired truisms of decades of criminal work. Mr. Woodward’s

experience in other cases does not excuse him from doing basic research into

Mr. Powell’s case. Instead of being Mr. Powell’s advocate, taking his

statement at face-value, and investigating his case, Mr. Woodward reverted

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to his decades of experience with other clients and decided, without further

investigating, that Mr. Powell’s case must be futile.

      Mr. Woodward’s second justification, his belief that “[i]n the scope of

a case like this, you know, two points was not going to be the make or break,”

is also not a reasonable ground. JA316. It is true that, regardless of the

outcome of this objection, Mr. Powell would (and will) be facing a significant

period of incarceration. But, the addition of those two points increased the

Guidelines-range by years. Op. Br. at 18. In truth, Mr. Woodward’s “‘failure

to investigate thoroughly resulted from inattention, not reasoned strategic

judgment.’” United States v. Carthorne, 878 F.3d 458, 467 (4th Cir. 2017)

(quoting Wiggins v. Smith, 539 U.S. 510, 526 (2003)); see also Gaines v.

Superintendent Benner Twp. SCI, 33 F.4th 705, 710 (3d Cir. 2022)

(“inattentiveness is strong evidence of ineffective assistance”).

      Mr. Woodward’s failure to investigate the factual underpinnings of the

premises enhancement cannot be considered a “strategic” choice. See Elmore,

661 F.3d at 863–64. Instead,

   this is one of those instances of deficient performance in which
   counsel, despite a professional obligation to conduct an investigation,
   “has failed to investigate the defense at all or has performed an
   investigation so minimal that no strategic reason could be given for the
   failure to investigate further.”

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Id. at 866 (quoting United States v. Roane, 378 F.3d 382, 411 (4th Cir. 2004))

(cleaned up).

      Attempting to excuse Mr. Woodward’s failure to investigate, the

Government argues that he “capably represented” Mr. Powell by

“object[ing] to the premise enhancement and cross-examin[ing] Agent

Dyer.” Gov. Br. at 16. But, as this Court and the Supreme Court have found,

when counsel has failed to adequately prepare for a proceeding, “not even

‘defense counsel’s vigorous cross-examination [or] attempts to discredit

witnesses’” can “‘lift counsel’s performance back into the realm of

professional responsibility.’” Elmore, 661 F.3d at 861 (quoting Kimmelman,

477 U.S. at 385–86). Counsel’s “failure to investigate cannot be excused by …

[his] other efforts.” Id.

      B.     A reasonable attorney would have submitted the Lease into
             evidence.

      Mr. Woodward’s failure to raise the possessory interest and infrequent

use arguments falls below reasonable standards of competency. Op. Br. at

11. The Government argues that Mr. Woodward had no obligation to press

these defenses because “such arguments likely would not have succeeded.”




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Gov. Br. at 23. This is not true. By not entering the Lease into evidence, Mr.

Woodward evinced a fundamental misunderstanding of the law.

      To satisfy the performance prong of the Strickland analysis, counsel

must “demonstrate a basic level of competence regarding the proper legal

analysis governing each stage of a case.” United States v. Freeman, 24 F.4th

320, 326 (4th Cir. 2022) (quoting Carthorne, 878 F.3d at 466).

      In this case, the Guidelines are clear. For the Government to satisfy its

burden in support of the premises enhancement, it must prove that (1) the

defendant “maintained” the premises; and (2) the premises was used for

drug activities. Op. Br. at 10; U.S.S.G. § 2D1.1(b)(12).1 Mr. Woodward did not

effectively represent Mr. Powell as to either prong.

      The Lease would have directly supported Mr. Powell’s assertion that

he did not maintain the Gateway Drive apartment. As to the “maintenance”

prong, Mr. Woodward explained that “it’s not really legally pertinent who

owns or rents [the premises].” JA317. But this statement is contradicted by

the Guidelines’ commentary and then- (and now-) existing Fourth Circuit




1 All references and citations to U.S.S.G. are to the 2016 version of the
manual. United States Sentencing Commission, Guidelines Manual (Nov.
2016).

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precedent. To determine if a defendant “maintained” a premises, the

Guidelines instruct courts to consider “(A) whether the defendant held a

possessory interest in (e.g., owned or rented) the premises and (B) the extent

to which the defendant controlled access to, or activities at, the premises.”

U.S.S.G. § 2D1.1 cmt. 17 (emphasis added). The Lease would have gone

directly to the first consideration and proved that Mr. Powell did not own or

rent the Gateway Drive apartment.

       It is true that such a finding would not end the inquiry. But, when

determining if a defendant without a possessory interest in the premises

maintained it, courts conduct a fact-intensive inquiry into the defendant’s

level of control. Op. Br. at 13–14 (gathering cases). For example, in United

States v. Clark, the Fourth Circuit upheld the application of the premises

enhancement under a plain error but found its application a “close call.” 665

F. App’x 298, 302–04 (4th Cir. 2016) (unpublished). In Clark, the defendant

had:

  (1) delivered drugs to the apartment on multiple occasions; (2)
  occupied the apartment with full knowledge of the kilogram quantities
  of cocaine and heroin, drug-related cash proceeds, and a firearm
  stored there; (3) received drugs at the apartment as compensation for
  her role in the scheme; (4) lodged at the apartment overnight for the
  exclusive purpose of advancing the drug trafficking business; (5) along
  with her coconspirators, “stretched” drugs at the apartment to

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   improve the profits of the drug trade; (6) sought a larger firearm in
   order to aid in controlling access and activities at the apartment; (7)
   made an additional delivery to the apartment and stayed there for
   “extended periods” after one of her coconspirators was arrested; and
   (8) devoted her activities at the apartment solely to the drug
   distribution operation.

Id. at 303–04. This case teaches that, when a defendant does not have

possessory interest in the premises, the Government bears the burden of

assembling additional proof regarding his activities in the premises. See also

United States v. Christian, 544 F. App’x 188, 191 (4th Cir. 2013) (unpublished);

United States v. Holloman, 679 F. App’x 256, 258 (4th Cir. 2017) (unpublished).

      In Mr. Powell’s case, because Mr. Woodward never investigated nor

submitted the Lease, no evidence of this type was entered. In fact, Mr.

Woodward admitted that he never looked into “what Mr. Powell’s access

was to that premises.” JA318; see Op. Br. at 11–14. We do not know what

evidence, if any, the Government could have marshalled.2 But, based on the




2 Of course, there is a chance that Mr. Woodward’s investigation would have

turned up facts that would not have aided Mr. Powell’s case. But, the right
to counsel is about the “fundamental fairness of the proceeding[s],”
regardless of whether the defendant in question may be guilty. United States
v. Baptiste, 8 F.4th 30, 37 (1st Cir. 2021) (cleaned up); see also Kimmelman, 477
U.S. at 380. Mr. Powell has the right to counsel who will zealously investigate
and defend his case, regardless of what that investigation may, in fact,
reveal.

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scant evidence in the PSR, if Clark was a “close call” and only upheld under

plain error, it cannot be said that Mr. Powell’s argument would have been

so futile as not to merit raising.

      The same is true as to the “use” prong. When evaluating the premises’

“use” for drug activity, courts “consider how frequently the premises was

used by the defendant for manufacturing or distributing a controlled

substance and how frequently the premises was used by the defendant for

lawful purposes.” U.S.S.G. § 2D1.1 cmt. 17. The Government’s evidence as

to Mr. Powell’s “use” of the apartment relied solely on the words of Ms.

Wilson. See Gov. Br. at 27. As discussed infra, the Lease, starting only five

months before Mr. Powell’s arrest, would have contradicted Ms. Wilson’s

otherwise uncontested testimony that Mr. Powell had used the Gateway

Drive apartment for drug activities for five years. JA118-119, JA246-247; JA44;

Op. Br. at 15–16.

      Mr. Woodward’s failure to investigate and misapprehension of the law

constitute deficient performance.




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II.   Mr. Woodward’s deficient performance prejudiced Mr. Powell.

      A.    There is a reasonable probability that the District Court would
            not have applied the enhancement if the Lease had been
            entered.

      If Mr. Woodward had entered the Lease and conducted a reasonable

investigation in the premises enhancement, there is a reasonable probability

that the Court would have sustained Mr. Powell’s objection to the premises

enhancement. Op. Br. at 19. The Government disagrees, arguing that

“applicable law shows that Brown’s lease and testimony likely would not

have changed the outcome.”3 Gov. Br. at 29. That is not so.



3 The Government also argued that Mr. Powell’s “plea agreement presents

another reason why he cannot show prejudice” because the District Court
“made clear it would still have applied the enhancement.” Gov. Br. at 28 n.2.
But, Mr. Powell’s plea agreement explicitly preserved his right to bring an
ineffective assistance of counsel claim. JA32-33. The Court’s post-hac
determination, that it would have imposed the same sentence, amounts to
no more than an advisory opinion of what it says it would have done if the
evidence had been presented before it. It does not deprive Mr. Powell of his
right to have effective counsel present his case and actually put this evidence
before the Court. To find otherwise would insulate all cases in which the
district court makes a finding of no prejudice from collateral attack.
Furthermore, this Court has squarely “recognized that an appeal waiver
does not preclude … a contention that ‘proceedings following entry of the
guilty plea were conducted in violation of his Sixth Amendment right to
counsel.’” United States v. Cohen, 888 F.3d 667, 683 (4th Cir. 2018) (quoting
United States v. Johnson, 410 F.3d 137, 151 (4th Cir. 2005)). Nor could it. A
defendant cannot “knowingly” consent to ineffective assistance. See id. at
679.

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      To satisfy the prejudice prong, the “defendant need not show that

counsel’s deficient conduct more likely than not altered the outcome in the

case.” Strickland, 466 U.S. at 693. Instead, he “must show that there is a

reasonable probability that, but for counsel’s unprofessional errors, the

result of the proceeding would have been different.” Id. at 694. A lower

standard than “preponderance of the evidence,” Buckner v. Polk, 453 F.3d

195, 203 (4th Cir. 2006), a “reasonable probability is a probability sufficient

to undermine confidence in the outcome,” Strickland, 466 U.S. at 694. When

determining prejudice, courts look to the entire record. Elmore, 661 F.3d at

868. “[A] verdict or conclusion only weakly supported by the record is more

likely to have been affected by errors than one with overwhelming record

support.” Strickland, 466 U.S. at 696.

      Here, the record on the premises enhancement is slim. The

enhancement was sustained based on the hearsay testimony of Ms. Wilson,

a known drug addict and co-conspirator in the case.4 Op. Br. at 20; see United


4 The Government argues that the District Court also relied on Agent Dyer’s

independent “investigation” in applying the premises enhancement. Gov.
Br. at 26–27; 30 n.4. But Agent Dyer attested that, at most, his investigation
showed that Mr. Powell “lived or had an apartment on Gateway Drive.”
JA104. He never entered the apartment and never saw any drug-processing
equipment. JA104. He does not even provide the apartment’s address or

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States v. Crawford, 734 F.3d 339, 343 (4th Cir. 2013) (the fact finder can

consider a witness’s status as a drug addict and a criminal in weighing

credibility). The Government, rising to Ms. Wilson’s defense, argues that the

District Court found Ms. “Wilson to be generally credible” and that it would

have relied on her testimony regardless.5 Gov. Br. at 21. But this ignores the

fact that the Lease would have contradicted Ms. Wilson’s otherwise

uncontested testimony, and would have been an objective piece of evidence

with which to further undermine Ms. Wilson.

      At sentencing, Ms. Wilson’s statements, as told by Agent Dyer, stood

uncontested. For instance, according to Agent Dyer, Ms. Wilson told him she

had purchased drugs from Mr. Powell for five years and had visited the

apartment on 12 occasions throughout the conspiracy. JA103. Mr.



apartment number. Nor did Agent Dyer provide any testimony regarding
Mr. Powell’s degree of “control” over the apartment. If Mr. Woodward had
entered the Lease into evidence, Agent Dyer’s sole independent conclusion
could have been explained as Mr. Powell visiting his girlfriend. Agent Dyer
himself conceded that the entire premises enhancement was based on one
statement by Ms. Wilson. JA104-105.
5 In support of this proposition, the Government cites the District Court’s

statement that Ms. Wilson is Mr. Powell’s “blood relative.” Gov. Br. at 21
(citing JA136). In actuality, Mr. Powell and Ms. Wilson are not blood
relations. Occupying opposing sides of the family tree, Mr. Powell and Ms.
Wilson are uncle and aunt, respectively, to the same niece. JA56.

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Woodward put on no testimony and no evidence to contradict her

assertions. But, if Mr. Woodward had adequately investigated the existence

of the Lease and the evidence surrounding Mr. Powell’s degree of control

over and use of the apartment, he could have undermined Ms. Wilson’s

assertion about the length of time Mr. Powell had access to the apartment.

In that case, the Court “would have seen a drastically different—and

significantly weaker—prosecution case.” Elmore, 661 F.3d at 870.

     The Government’s evidence at sentencing amounted to little more

than a feather—sufficient to satisfy the preponderance of the evidence

standard, but only just. The addition of the Lease, on Mr. Powell’s otherwise

empty side of the scale, could easily have tipped it in his favor. Mr. Powell

has sufficiently demonstrated that Mr. Woodward’s deficient performance

“undermine[s] confidence” in the outcome of the objection.

     B.    Because the improper application of the enhancement raised
           the Guideline’s range, Mr. Powell suffered prejudice.

     The District Court’s reliance on an improper Guidelines-range

prejudiced Mr. Powell. Op. Br. at 18. The Government argues that,

regardless of the proper Guidelines-range, the District Court would have

imposed the same sentence and, focusing on Mr. Powell’s character rather



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than Mr. Woodward’s conduct, recites various portions of the Government’s

sentencing position statement. Gov. Br. at 30–31. The Government fails to

overcome the presumption that, if a defendant is sentenced under an

incorrectly calculated Guidelines-range, he suffered prejudice.

   “When a defendant is sentenced under an incorrect Guidelines range …

the error itself can, and most often will, be sufficient to show a reasonable

probability of a different outcome absent the error.” Molina-Martinez v.

United States, 578 U.S. 189, 198 (2016). This is a strong presumption. For

example, this Court found constitutionally cognizable prejudice when the

sentencing court applied the wrong Guidelines-range but explicitly stated at

sentencing “I would have imposed this same sentence as an alternate variant

sentence in light of all of the 18 USC Section 3553(a) factors.” See Freeman, 24

F.4th at 332; Joint Appendix at 142, Freeman Dkt. 46 (4th Cir. No. 19-4104). A

District Court’s post hoc statement that it would have imposed the same

sentence does not insulate the sentence when Strickland prejudice is raised.

Freeman, 24 F.4th at 332; see also United States v. Williams, No. 20-7402, 2023

WL 8183301, at *3 n.4 (4th Cir. Nov. 27, 2023).

      Nothing in the record suggests that the District Court disregarded the

Guidelines-range during sentencing. Op. Br. at 23. Instead, as is its

                                      15
obligation, the Court referred to the Guidelines during the sentencing

hearing and when pronouncing Mr. Powell’s sentence. JA142-143; JA158.

      The fact that the sentencing court granted a downward variance does

not diminish the strength of this presumption of prejudice. The Supreme

Court made clear that the presumption of prejudice applies “whether or not

the defendant’s ultimate sentence falls within the correct range.” Molina-

Martinez, 578 U.S. at 198. This is because “the Guidelines range is presumed

to have an anchoring effect on sentencing decisions.” United States v. Coby,

65 F.4th 707, 714 (4th Cir. 2023) (cleaned up). After all, “district courts not

only must ‘begin their analysis with the Guidelines’ but must ‘remain

cognizant of them throughout the sentencing process.’” Id. (quoting Peugh v.

United States, 569 U.S. 530, 541 (2013)). When granting a variance, the

sentencing court must consider the extent of the deviation from the

Guidelines. Peugh, 569 U.S. at 541–42. Therefore, “[t]hat a district court may

ultimately sentence a given defendant outside the Guidelines range does not

deprive the Guidelines of force as the framework for sentencing.” Id.

      Here, the District Court granted a downward variance but, in

calculating the extent of the variance, the District Court relied on the

incorrectly calculated Guidelines-range. The Court imposed a sentence of

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300 months, 60 months below the minimum incorrect Guidelines-range and

roughly 83% of the minimum incorrect Guidelines-range sentence. U.S.S.G.,

Ch. 5, Part A (Sentencing Table); JA165. If the District Court had applied the

correct Guidelines-range and a similar variance, it would have sentenced

Mr. Powell to a significantly shorter period of incarceration. Accounting for

the same proportional variance (83%), Mr. Powell would be serving roughly

242 months. And, if the District Court were to grant the same numerical

variance (60 months), Mr. Powell would only be serving a sentence of 232

months. These figures represent, respectively, a difference of 58 months or

nearly 4.8 years and 68 months or over 5 and a half years. See also Rosales-

Mireles v. United States, 585 U.S. 129, 139 (2018) (“any amount of actual jail

time is significant”) (cleaned up).

      As the Government recognized, the District Court wrestled with a

variety of factors in a lengthy sentencing, including Mr. Powell’s advanced

age, serious physical disability, and his statement to the Court detailing the

changes he has made to his life. That the Court was thoughtful in weighing

the factors unique to Mr. Powell’s case does not vitiate the prejudice to Mr.

Powell: it underscores it. The guidelines were the originating point of, and

compass throughout, sentencing. C.f., Coby, 65 F.4th at 714. Mr. Powell’s

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circumstances clearly weighed on the Court given its downward departure

in spite of Mr. Powell’s criminal history score, and the conduct raised by the

Government. The prejudice is that this thoughtful process originated from

the wrong point, and there is no way to know where the Court would have

landed if—at the time of sentencing—it had started from the correct range.

                              CONCLUSION

      As Mr. Powell has demonstrated both deficient performance and

prejudice, the Court should vacate his sentencing and remand this case for

re-sentencing.

Dated: February 29, 2024            Respectfully submitted,

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                    CERTIFICATE OF COMPLIANCE

     1.    This brief complies with the type-volume limitations of Fed. R.

App. P. 32(a)(7)(B) because it contains 3,837 words, excluding the parts of

the brief exempted by Fed. R. App. P. 32(f).

     2.    This   brief   complies   with      the   typeface   and   type-style

requirements of Fed. R. App. P. 32(a)(5) and Fed. R. App. P. 32(a)(6) because

it has been prepared in a proportionally spaced, 14-point Book Antiqua font

using Microsoft Word.


                                          /s/ Morgan V. Maloney
                                          Morgan V. Maloney




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                       CERTIFICATE OF SERVICE

     I hereby certify that on February 29, 2024, the foregoing was filed with

the Clerk of the United States Court of Appeals for the Fourth Circuit using

the appellate CM/ECF system, which will also serve counsel of record.


                                         /s/ Morgan V. Maloney
                                         Morgan V. Maloney




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